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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

      UNITED STATES OF AMERICA

      v.                               Case No. 8:14-cr-64-T-l7TGW

      YOEL EMILIO BAEZ-HERNANDEZ

                         FINAL JUDGMENT OF FORFEITURE

             THIS CAUSE comes before the Court upon the United States' Motion

      for:

                   (1)    A Final Judgment of Forfeiture for J & E Adventure,
                          Inc. d /b /a LeJune Liquors, including but not limited to the
                          company’s equipment, inventory, and liquor license
                          (Number BEV2300101);

                   (2)    A Final Judgment of Forfeiture for the following substitute
                          assets in partial satisfaction of the defendant’s $730,000.00
                          forfeiture money judgment:

                          a.    A 2001 Pleasure Outboard Fiberglass Vessel, Hull
                                Number: CBA040WW101, Registration Number:
                                FL1869PM, registered to LeJune Liquors;

                          b.    A homemade private trailer, Vehicle Identification
                                Number: NOVIN0200993751, Florida Tag No.
                                113YDQ, registered to LeJune Liquors; and

                          c.    A 2006 BMW, white, Vehicle Identification
                                Number: WBANE53536CK90380, Florida Tag No.
                                420XDJ, registered to LeJune Liquors.

             On September 9,2016, the Court entered a $730,000.00 Forfeiture

      Money Judgment and a Preliminary Order of Forfeiture for the
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      above-described property. Doc. 524.

             The Court finds that in accord with 21 U.S.C. § 853(n) and Rule

      32.2(b)(6)(C), the United States published notice of the forfeiture and of its

      intent to dispose of the assets on the official government website,

      www.forfeiture.gov, from August 12,2014 through September 10,2014. Doc.

      339. The publication gave notice to all third parties with a legal interest in the

      asset to file with the Office of the Clerk, United States District Court, Middle

      District of Florida, Sam Gibbons Federal Courthouse, 2nd Floor, 801 North

      Florida Avenue, Tampa, Florida 33602, a petition to adjudicate their interest

      within 60 days of the first date of publication.

             The Court further finds that, in accordance with the requirements of 21

      U.S.C. § 853(n) and due process, the United States properly noticed the only

      known individuals or entities with an alleged legal interest in the assets. No

      person or entity, other than the defendant (whose interest in the assets was

      forfeited to the United States in the Preliminary Order of Forfeiture), Yeleinys

      Morejon Santos, J & E Adventure, Inc., LeJune Liquors, Premier Beverage

      Company, Consolidated Wine and Spirits (none of whom filed a claim), Emilo

      Baez (whose claim was denied. Doc. 450), and Vincente Cruz and Ursula Cruz

      (whose claim was settled, Doc. 486). No other third party has filed a petition

      or claimed an interest in the assets, and the time for filing a petition has expired.
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              Accordingly, it is hereby:

              ORDERED, ADJUDGED, and DECREED that for good cause shown,

      the United States’ motion is GRANTED.

              It is FURTHER ORDERED that pursuant to 21 U.S.C. § 853(n)(7), 18

      U.S.C. § 982(b)(1), and Federal Rule of Criminal Procedure 32.2(c)(2), all right,

      title and interest in the assets identified above are CONDEMNED and

      FORFEITED to the United States for disposition according to law.




      2016.

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      Copies to:                                  EU2ABETH A. K0VACHEVICH
      James A. Muench, AUSA                       UNITED STATES DISTRICT JUDGE
      Counsel of Record




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